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FORM TO BE USED BY A PRISONER IN FILING A COMPLAIBISUNDER THR

CIVIL RIGHTS ACT, 42 U.S.C. § 1983, WITH J DRE TION" |
UNDER 28 U.S.C. § 1343

UNITED STATES DISTRICT COURT

DISTRICT OF MAINE Save

[Enter above the full name of

Vefhovy Alon W thaw db )
[Enter abbve the full name of )
the plaintiff in this action] )
—)

Vv. ) Docket no,
)
Ho COvunts : )
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Sco-Ht Kan se. )
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)

the defendant(s) in this action]

LL.

A.

Previous Lawsuits

Have you begun other lawsuits in state or federal court dealing with the
same facts involved in this action or otherwise relating io your

imprisonment? Yes[yq No[ ]

If your answer to “A” is yes, describe the lawsuit in the space below.
[If there is more than one lawsuit, describe the additional lawsuits on

another piece of paper, using the same outline]

1. Parties to this previous lawsuit

Plaintiffs) VefFern dy

Defendant(s) . a meia-€

in; tuna l Ls pt a] foe Wes ) rene

2. Court [If federal court, name the district; if state court, name the county]
phy oF Ma

3, Docket number [.23~cV-©Oo02b)~-LE VW/

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4. Name of judge whom case was assigned Lawc-e E we | Yer,

5. Outcome [for example: It is still pending? me it dismissed? Was it
appealed] Chil Prevading

6. Approximate date of filing lawsuit

7. Approximate date of outcome

Ul. Place of present confinement Hancock foumby Se)

A. Is there a prisoner grievance procedure in this institution?

Yes [< ] No[{ ]

B. Did you present the facts relating to your complaint in the state prisoner
grievance procedure? Yes [Se] No[ ]

C. If your answer is “Yes”

1. What steps did you take? T Fr LAdaafrr t Voce and
‘Ld clic p F Lotte with

Me Soke des) A Din wet elor Dutveln ty Woo
I. Parties Uc? Verne.

[In item “A” below, place your name in the first blank and place your present address in
the second blank. Do the same for additional plaintiffs, if ary.]

A. Name of Plaintiff. tee F F. an Withee

Address 5D Stoke Steck Suited €1sworth me OUbOS

[In item “B” below, place the full name of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use item
“C” for the names, positions, and places of employment of any additional defendants. ]

B. Name of Defendant Hovtec. I County Det \, Lott Ié anus’

Position Wav foe
Address 5(): Sate St Suite lo ¢ Sword, ime ON OS

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a

IV.

C. Additional Defendant(s)

Statement of Claim

[State here as briefly as possible the facts of your case. Describe how cach
defendant is involved. Include also the names of other persons involved, dates and
places. Do not give any legal arguments or cite any cases or statutes. If you intend
to allege a number of related claims, number and set forth each claim in a separate
paragraph. Use as much space as you need. Attach extra sheet if necessary.]

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Relief

[State briefly exactly what you want the court to do for you. Make no legal arguments.
Cite no cases or statutes. |

cb the

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LW When po
Sj € of Plaintiff

Signed this 3] day of Qugue d , 2023

I declare under penalty of perjury that the foregoing is true and correct,

Date

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: iffaturé of Plaintiff 7
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